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              IN THE UNITED STATES BANKRUPTCY COURT
          NORTHERN DISTRICT OF ILLINOIS — EASTERN DIVISION

In re:                                    )      Case No. 17-11697
                                          )
ARTHUR B. ADLER AND                       )      Chapter 7
ASSOCIATES, LTD.                          )
                                          )      Hon. Jack B. Schmetterer
         Debtor.                          )

                               NOTICE OF SETTLEMENT

To:      All creditors, the Debtor, and other parties in interest

       PLEASE TAKE NOTICE that David P. Leibowitz, the chapter 7 Trustee for
the estate of Arthur B. Adler and Associates, Ltd. (the “Debtor”) has filed a Motion
to Approve a Compromise of certain disputes related to claims against Citibank,
N.A. (“Citibank”). The Motion is on file with the United States Bankruptcy Court
for the Northern District of Illinois, Eastern Division and is available at
http://www.ilnb.uscourts.gov/ and upon request to the undersigned. The Motion
provides for Citibank to pay the Trustee the total sum of $8,000 in satisfaction of all
claims against Citibank.

        This Motion will be heard by the Honorable Jack B. Schmetterer on June 13,
2019 at 10:30 a.m. in room 682 of the United States Bankruptcy Court for the
Northern District of Illinois, Eastern Division, 219 South Dearborn Street, Chicago,
Illinois, 60604. Any entity opposing the relief sought in the Motion should attend
the hearing or file a written objection with the Clerk of the Court listed herein and
serve it upon the Trustee’s counsel by facsimile, U.S. mail, or the Court’s CM/ECF
filing system at the address listed below so that it is received no later than June 12,
2019.


Dated: May 21, 2019                              /s/ Carolina Y. Sales


Paul M. Bauch (ARDC # 6196619)
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